              Case 2:11-cv-01123-JCC Document 22 Filed 02/08/13 Page 1 of 2




                                                       THE HONORABLE JOHN C. COUGHENOUR
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                                UNITED STATES DISTRICT COURT
 7
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9      RASHEL WHITE,                                      CASE NO. C11-1123-JCC
10
                               Plaintiff,                  ORDER DISMISSING CASE
11
                v.
12
        CITY OF SEATTLE, and DOUG
13      RAGUSO, in his capacity as a police
14      officer for the City of Seattle, and as an
        individual, and SCOTT LUCKIE, in his
15      capacity as a police officer for the City of
        Seattle, and as an individual,
16
                               Defendants.
17

18          Pursuant to the parties’ stipulation and proposed order of dismissal (Dkt. No. 21) and

19 Federal Rule of Civil Procedure 41(a)(1)(A)(ii), this action is DISMISSED with prejudice and

20 without an award of costs or attorneys’ fees to any party, and the trial of this matter set for March

21 11, 2013 is VACATED. The Clerk is respectfully directed to CLOSE this case.

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     ORDER DISMISSING CASE
     PAGE - 1
             Case 2:11-cv-01123-JCC Document 22 Filed 02/08/13 Page 2 of 2




 1         DATED this 8th day of February 2013.

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                                                  A
                                                  John C. Coughenour
 8                                                UNITED STATES DISTRICT JUDGE

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     ORDER DISMISSING CASE
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